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 5
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 6 United States of America

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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         CASE NO. 2:17-CR-00060-MCE
12                               Plaintiff,            STIPULATION TO MODIFY BRIEFING
                                                       SCHEDULE; ORDER
13                         v.
14   PAMELA EMANUEL,
15                              Defendant.
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18                                             STIPULATION

19         1.      Defendant Pamela Emanuel filed a motion for reduction in sentence and compassionate

20 release on July 28, 2020. ECF No. 262. The government’s response is currently due by August 4, 2020,

21 and any reply due July 2, 2020. ECF No. 263. Government counsel requests additional time to obtain

22 records and draft the response.

23         2.      Counsel for the defendant does not oppose this request.

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      STIPULATION AND ORDER                            1
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          Case 2:17-cr-00060-DAD-DB Document 266 Filed 08/04/20 Page 2 of 3


 1        3.     Accordingly, by this stipulation, the parties now request that:

 2               a)      The government’s opposition or response to defendant’s motion, ECF No. 262, be

 3 due on August 11, 2020; and

 4               b)      The defense reply, if any, will be due on August 18, 2020.

 5

 6        IT IS SO STIPULATED.

 7
     Dated: July 31, 2020                                   MCGREGOR W. SCOTT
 8                                                          United States Attorney
 9
                                                            /s/ Amy Schuller Hitchcock
10                                                          AMY SCHULLER HITCHCOCK
                                                            Assistant United States Attorney
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13   Dated: July 31, 2020                                   /s/ Timothy Zindel
14                                                          TIMOTHY ZINDEL
                                                            Counsel for Defendant
15                                                          PAMELA EMANUEL

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     STIPULATION AND ORDER                             2
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           Case 2:17-cr-00060-DAD-DB Document 266 Filed 08/04/20 Page 3 of 3


 1                                                 ORDER

 2         Based upon the stipulation and representations of the parties, the Court adopts the proposed

 3 revised briefing schedule as follows:

 4                 a)     The government’s opposition or response to defendant’s motion, Docket No. 262,

 5 is due on August 11, 2020;

 6                 b)     The defense reply, if any, will be due on August 18, 2020.

 7         IT IS SO ORDERED.

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 9 Dated: August 3, 2020

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      STIPULATION AND ORDER                            3
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